             Case 8:23-bk-11700-MH               Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                 Main Document    Page 1 of 15


Attorney or Party Name, Address, Telephone & FAX Numbers, State Bar          FOR COURT USE ONLY
Number & Email Address
Rabin J. Pournazarian 186735
Resolve Law Group
6345 Balboa Blvd. Suite 247
Encino, CA 91316
818-995-4540 Fax: 818-995-9277
186735 CA
rabin@resolvelawgroup.com




    Debtor appearing without attorney
    Attorney for Debtor

                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA

List all names (including trade names) used by Debtor within                 CASE NUMBER:
the last 8 years.
In re:                                                                       CHAPTER 13
   Florian Nathan Ticorat                                                                        CHAPTER 13 PLAN
                                                                                                     Original
                                                                                                     1st Amended*
                                                                                                     2nd Amended*
                                                                                                              Amended*

                                                                                  *list below which sections have been changed:

                                                                                         [FRBP 3015(b); LBR 3015-1]
                                                                             11 U.S.C. SECTION 341(a) CREDITORS' MEETING:
                                                                             Date:
                                                                             Time:
                                                                             Address:


                                                                             PLAN CONFIRMATION HEARING: [LBR 3015-1(d)]
                                                                             Date:
                                                                             Time:
                                                                             Address:
                                                                Debtor(s).

         “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
   “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

Part 1: PRELIMINARY INFORMATION

TO DEBTOR (the term "Debtor" includes and refers to both spouses as Debtors in a joint bankruptcy case): This
Chapter 13 Plan (Plan) sets out options that may be appropriate in some cases, but the presence of an option in this Plan
does not indicate that the option is appropriate, or permissible, in your situation. A Plan that does not comply with local
rules and judicial rulings may not be confirmable. You should read this Plan carefully and discuss it with your attorney if
you have one. If you do not have an attorney, you may wish to consult one.

             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 1                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH                 Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                   Main Document    Page 2 of 15


TO ALL CREDITORS: This Plan is proposed by Debtor and your rights may be affected by this Plan. Your claim may be
reduced, modified, or eliminated. You should read this Plan carefully and discuss it with your attorney if you have one. If
you do not have an attorney, you may wish to consult one.

PLEASE NOTE THAT THE PROVISIONS OF THIS PLAN MAY BE MODIFIED BY ORDER OF THE COURT.

If you oppose this Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file a written
objection to confirmation of the Plan at least 14 days before the date set for the hearing on confirmation. However, the
amounts listed on a proof of claim for an allowed secured or priority claim control over any contrary amounts listed in the
Plan. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See FRBP
3015. In addition, you must file a timely proof of claim in order to be paid under any plan. See LBR 3015-1 and FRBP
3002(a).

Defaults will be cured using the interest rate set forth below in the Plan.

The following matters may be of particular importance to you:

Debtor must check one box on each line to state whether or not this Plan includes each of the following items. If
an item is checked as “Not Included,” if both boxes are checked, or neither box is checked, the item will be
ineffective if set out later as a provision in this Plan.

     1.1       Valuation of property and avoidance of a lien on property of the bankruptcy estate, set out in Class 3B
               and/or Section IV (11 U.S.C. § 506(a) and (d)):
                 Included        Not included

     1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Section
               IV (11 U.S.C. § 522(f)):
                  Included        Not included

     1.3       Less than full payment of a domestic support obligation that has been assigned to a governmental unit,
               pursuant to 11 U.S.C. §1322(a)(4). This provision requires that payments in Part 2 Section I.A. be for a
               term of 60 months:
                  Included       Not included

     1.4       Other Nonstandard Plan provisions, set out in Section IV:
                 Included      Not included

ALL CREDITORS ARE REQUIRED TO FILE A PROOF OF CLAIM IN ORDER TO HAVE AN ALLOWED CLAIM,
EXCEPT AS PROVIDED IN FRBP 3002(a). A Debtor whose Plan is confirmed may be eligible thereafter to receive a
discharge of debts to the extent specified in 11 U.S.C. § 1328.

Regardless of whether this Plan treats a claim as secured or unsecured, any lien securing such claim is not avoided other
than as provided by law or order of the court.

Part 2: PLAN TERMS

Debtor proposes the following Plan terms and makes the following declarations:

Section I. PLAN PAYMENT AND LENGTH OF PLAN

     A. Monthly Plan Payments will begin 30 days from the date the bankruptcy petition was filed. If the payment due
        date falls on the 29th, 30th, or 31st day of the month, payment is due on the 1st day of the following month (LBR
        3015-1(k)(1)(A)).

             Payments by Debtor of:
             $ 1,028.00                  per month for months 1                     through     60            totaling $ 61,680.00             .
             For a total plan length of 60 months totaling $61,680.00.

               This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                                Page 2                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH                 Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                   Main Document    Page 3 of 15


     B. Nonpriority unsecured claims.

             The total amount of estimated non-priority unsecured claims is $50,573.00.

             1. Unless otherwise ordered by the court, after Class 1 through Class 4 creditors are paid, allowed nonpriority
                unsecured claims that are not separately classified (Class 5) will be paid pro rata per the option checked
                below. If both options below are checked, the option providing the largest payment will be effective.

                 a.     "Percentage" plan: 55% of the total amount of these claims, for an estimated total payment of
                        $27,781.20.

                 b.     "Residual" plan: The remaining funds, after disbursements have been made to all other creditors
                        provided for in this Plan, estimated to pay a total of $50,573.00 and 100% to claims in Class 5. The
                        amount distributed to Class 5 claims may be less than the amount specified here depending on the
                        amount of secured and priority claims allowed.

             2. Minimum Plan payments. Regardless of the options checked above, payments on allowed nonpriority
                unsecured claims will be made in at least the greater of the following amounts:

                 (a) the sum of $0.00, representing the liquidation value of the estate in a hypothetical Chapter 7 case under 11
                    U.S.C. § 1325(a)(4), or

                 (b) if Debtor has above-median income and otherwise subject to 11 U.S.C. § 1325(b), the sum of
                     $ 27,781.20 , representing all disposable income payable for 60 months under the means test.

     C. Income tax refunds. Debtor will provide the Chapter 13 Trustee with a copy of each income tax return filed during
        the Plan term within 14 days of filing the return and, unless the Plan provides 100% payment to nonpriority
        unsecured creditors (Class 5), will turn over to the Chapter 13 Trustee all federal and state income tax refunds
        received for the term of the plan. The Debtor may retain a total of $500 of the sum of the federal and state tax
        refunds for each tax year. Income tax refunds received by the debtor and turned over to the Chapter 13 Trustee
        or directly turned over to the Chapter 13 Trustee by the taxing authorities do not decrease the total amount of
        payments stated in Section I.A., above. The refunds are pledged to the plan in addition to the amounts stated in
        Section I.A. and can be used by the Chapter 13 Trustee to increase the percentage paid to general unsecured
        creditors without further order of the Bankruptcy Court.

     D. In the event that secured creditor(s) file a Notice of Postpetition Fees and Costs pursuant to FRBP 3002.1(c), the
        Chapter 13 Trustee is authorized, but not required, to commence paying those charges 90 days after that notice
        is filed, unless within that time the Debtor contests those charges by filing a motion to determine payment under
        FRBP3002.1(e) or agrees to pay those charges by filing a motion to modify this Plan.

     E. Debtor must make preconfirmation adequate protection payments for any creditor that holds an allowed claim
        secured by personal property where such security interest is attributable to the purchase of such property and
        preconfirmation payments on leases of personal property whose allowed claim is impaired by the terms proposed
        in this Plan. Debtor must make preconfirmation adequate protection payments and preconfirmation lease
        payments to the Chapter 13 Trustee for the following creditor(s) in the following amounts:

         Creditor/Lessor Name                  Collateral Description                Last 4 Digits of Account #                 Amount
-NONE-

             Each adequate protection payment or preconfirmation lease payment will accrue beginning the 30th day from the
             date of filing of the case. The Chapter 13 Trustee must deduct the foregoing adequate protection payment(s)
             and/or preconfirmation lease payment from Debtor's Plan Payment and disburse the adequate protection
             payment or preconfirmation lease payment to the secured creditor(s) at the next disbursement or as soon as
             practicable after the payment is received and posted to the Chapter 13 Trustee’s account. The Chapter 13
             Trustee will collect his or her statutory fee on all receipts made for preconfirmation adequate protection payments
             or preconfirmation lease payments.


               This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                                Page 3                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH                 Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                   Main Document    Page 4 of 15

     F. Debtor must not incur debt greater than $1,000 without prior court approval unless the debt is incurred in the
        ordinary course of business pursuant to 11 U.S.C. §1304(b) or for medical emergencies.

     G. The Chapter 13 Trustee is authorized to disburse funds after the date the Plan confirmation is announced in open
        court.

     H. Debtor must file timely all postpetition tax returns and pay timely all postconfirmation tax liabilities directly to the
        appropriate taxing authorities.

     I.      Debtor must pay all amounts required to be paid under a Domestic Support Obligation that first became payable
             after the date of the filing of the bankruptcy petition.

     J.      If the Plan proposes to avoid a lien of a creditor, the Chapter 13 Trustee must not disburse any payments to that
             creditor on that lien until the Plan confirmation order is entered.

     K. Debtor must pay all required ongoing property taxes and insurance premiums for all real and personal property
        that secures claims paid under the Plan.

Section II. ORDER OF PAYMENT OF CLAIMS; CLASSIFICATION AND TREATMENT OF CLAIMS:

     Except as otherwise provided in this Plan, the Chapter 13 Trustee must disburse all available funds for the payment of
     claims as follows:

     A. ORDER OF PAYMENT OF CLAIMS:


             1st   If there are Domestic Support Obligations, the order of priority will be:

                        (a) Domestic Support Obligations and the Chapter 13 Trustee’s fee not exceeding the amount accrued
                           on Plan Payments made to date;

                        (b) Administrative expenses (Class 1(a)) until paid in full;

                   If there are no Domestic Support Obligations, the order of priority will be:

                        (a) The Chapter 13 Trustee’s fee not exceeding the amount accrued on Plan Payments made to date;

                        (b) Administrative expenses (Class 1(a)) until paid in full.

             2nd Subject to the 1st paragraph, pro rata to all secured claims and all priority unsecured claims until paid in full
                 except as otherwise provided in this Plan..

             3rd   Non-priority unsecured creditors will be paid pro rata except as otherwise provided in this Plan. No payment
                   will be made on nonpriority unsecured claims until all the above administrative, secured and priority claims
                   have been paid in full unless otherwise provided in this Plan.

     B. CLASSIFICATION AND TREATMENT OF CLAIMS:




               This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                                Page 4                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH               Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                 Main Document    Page 5 of 15


                                                                  CLASS 1


                     ALLOWED UNSECURED CLAIMS ENTITLED TO PRIORITY UNDER 11 U.S.C. §507

Class 1 claims will be paid in full pro rata. Any treatment that proposes to pay claims in Class 1(a) or 1(b) less than in full
must be agreed to in writing by the holder of each such claim and specifically addressed in Section IV.D.

Unless otherwise ordered by the court, the claim amount stated on a proof of claim, and the dollar amount of any
allowed administrative expense, controls over any contrary amount listed below.

                                                  AMOUNT OF                  INTEREST                             TOTAL
                 CATEGORY
                                                PRIORITY CLAIM               RATE, if any                        PAYMENT

a. Administrative Expenses

(1)     Chapter 13 Trustee’s Fee – estimated at 11% of all payments to be made to all classes through this Plan.

(2)     Attorney’s Fees                                     $4,963.00                                                              $4,963.00

(3)     Chapter 7 Trustee’s Fees


(4)     Other

(5)     Other

b. Other Priority Claims

(1)     Internal Revenue Service

(2)     Franchise Tax Board

(3)     Domestic Support Obligation

(            )      Other

c.      Domestic Support Obligations that have been assigned to a governmental unit and are not to be paid in full in the
        Plan pursuant to §1322(a)(4) (this provision requires that payments in Part 2 Section I.A. be for a term of 60
        months)

        (specify creditor name):




     See attachment for additional claims in Class 1.


                                                                  CLASS 2


                 CLAIMS SECURED SOLELY BY PROPERTY THAT IS DEBTOR’S PRINCIPAL RESIDENCE
                    ON WHICH OBLIGATION MATURES AFTER THE FINAL PLAN PAYMENT IS DUE
Check one.

         None. If "None" is checked, the rest of this form for Class 2 need not be completed.


             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 5                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH               Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                 Main Document    Page 6 of 15

        Debtor will maintain and make the current contractual installment payments on the secured claims listed below,
       with any changes required by the applicable contract and noticed in conformity with any applicable rules. Unless
       otherwise ordered by the court, these payments will be disbursed either by the Chapter 13 Trustee or directly by
       Debtor, as specified below. Debtor will cure the prepetition arrearages, if any, on a listed claim through
       disbursements by the Chapter 13 Trustee, with interest, if any, at the rate stated.

       The arrearage amount stated on a proof of claim controls over any contrary amount listed below.

                                                                                                                               POST-
                                LAST 4                                ESTIMATED
                                                 AMOUNT OF                      ESTIMATED                                    PETITION
       NAME OF                 DIGITS OF                    INTEREST   MONTHLY
                                                 ARREARAGE,                       TOTAL                                      PAYMENT
       CREDITOR                ACCOUNT                        RATE   PAYMENT ON
                                                   IF ANY                       PAYMENTS                                   DISBURSING
                               NUMBER                                ARREARAGE
                                                                                                                              AGENT
                                                                     %                                                    Trustee
                                                                                                                          Debtor


   See attachment for additional claims in Class 2.


                                                                 CLASS 3A



                                   UNIMPAIRED CLAIMS TO BE PAID DIRECTLY BY DEBTOR

Check one.

      None. If "None" is checked, the rest of this form for Class 3A need not be completed.

     Debtor will make regular payments, including any preconfirmation payments, directly to the following creditors in
   accordance with the terms of the applicable contract (Include Creditor Name and Last 4 Digits of Account Number):


The claims of these creditors are unimpaired under the plan.


   See attachment for additional claims in Class 3A.


                                                                 CLASS 3B


 CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE TO BE BIFURCATED AND PAID IN FULL
                              DURING THE TERM OF THIS PLAN.
Check one.

       None. If "None" is checked, the rest of this form for Class 3B need not be completed.

      Debtor proposes:

         Bifurcation of Claims - Dollar amounts/lien avoidance. Except as provided below regarding bifurcation of
         claims into a secured part and an unsecured part, the claim amounts listed on a proof of claim control this Plan
         over any contrary amounts listed below.

         (a) Bifurcated claims - secured parts: Debtor proposes that, for the purposes of distributions under this Plan, the
            dollar amount of secured claims in this Class 3B should be as set forth in the column headed “Secured Claim


             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 6                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH               Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                 Main Document    Page 7 of 15

              Amount.” For that dollar amount to be binding on the affected parties, either

              (i) Debtor must obtain a court order granting a motion fixing the dollar amount of the secured claim and/or
                  avoiding the lien, or

              (ii) Debtor must complete and comply with Part 2 Section IV.C., so that the Plan itself serves as such a motion;
                   the "Included" boxes must be checked in Part 1 Paragraphs 1.1 and/or 1.2 (indicating that this Plan
                   includes valuation and lien avoidance, and/or avoidance of a judicial lien or nonpossessory,
                   nonpurchase-money lien in Section IV.C.); and this Plan must be confirmed - if any one of those conditions
                   is not satisfied, then the claim will not be bifurcated into a secured part and an unsecured part pursuant to
                   this sub-paragraph.

         (b) Bifurcated claims - unsecured parts: Any allowed claim that exceeds the amount of the secured claim will be
            treated as a nonpriority unsecured claim in Class 5 below.

                                 LAST 4 DIGITS                         SECURED                          ESTIMATED           ESTIMATED
                                                        CLAIM                           INTEREST
  NAME OF CREDITOR               OF ACCOUNT                             CLAIM                            MONTHLY              TOTAL
                                                        TOTAL                             RATE
                                   NUMBER                              AMOUNT                            PAYMENT            PAYMENTS




   See attachment for additional claims in Class 3B.


                                                                 CLASS 3C


 CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE TO BE PAID IN FULL DURING THE TERM
        OF THIS PLAN (WITHOUT BIFURCATION), INCLUDING CURE OF ARREARS, IF APPLICABLE.

Check all that apply.

        None. If "None" is checked, the rest of this form for Class 3C need not be completed.

      Debtor proposes to treat the claims listed below as fully secured claims on the terms set forth below. These claims
       will not be bifurcated. The claim amounts listed on a proof of claim control this Plan over any contrary amounts
       listed below.

                               IMPAIRED CLAIMS PAID THROUGH THE PLAN BY THE TRUSTEE

         Name of Creditor                Last 4 Digits      CLAIM TOTAL           INTEREST             Estimated            ESTIMATED
                                          of Account                                RATE                Monthly               TOTAL
                                           NUMBER                                                      Payment              PAYMENTS


                                                     CURE AND MAINTAIN CLAIMS


      Debtor will maintain and make the current contractual installment payments (Ongoing Payments) on the secured
   claims listed below pursuant to the terms of the applicable contract, except as stated otherwise in this Plan. These
   payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as specified below. Debtor will cure
   and pay the prepetition arrearages, if any, on a claim listed below through disbursements by the Chapter 13 Trustee,
   with interest, if any, at the rate stated. The dollar amount of arrearage stated on a proof of claim controls over any
   contrary amount listed below.



             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 7                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH               Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                 Main Document    Page 8 of 15

                                                                                   Cure of Default
     Name of           Last 4 Digits of
     Creditor             Account          AMOUNT OF              INTEREST           ESTIMATED           ESTIMATED            ONGOING
                          Number          ARREARAGE, IF             RATE              MONTHLY              TOTAL              PAYMENT
                                              ANY                                   PAYMENT ON           PAYMENTS            DISBURSING
                                                                                    ARREARAGE                                   AGENT

                                                                                                                            Trustee
                                                                                                                            Debtor


   See attachment for additional claims in Class 3C.


                                                                 CLASS 3D


                                       SECURED CLAIMS EXCLUDED FROM 11 U.S.C. §506

Check one.

       None. If "None" is checked, the rest of this form for Class 3D need not be completed.

      The claims listed below were either:

1. Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
  vehicle   acquired for the personal use of Debtor, or

2. Incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
  value.

These claims will be paid in full under this Plan with interest at the rate stated below. The claim amount stated on a proof
of claim controls over any contrary amount listed below.
                                           LAST 4
                                                                                                     ESTIMATED              ESTIMATED
                                          DIGITS OF                               INTEREST
      NAME OF CREDITOR                                      CLAIM TOTAL                               MONTHLY                 TOTAL
                                          ACCOUNT                                   RATE
                                                                                                      PAYMENT               PAYMENTS
                                          NUMBER




   See attachment for additional claims in Class 3D.




             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 8                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH               Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                              Desc
                                                 Main Document    Page 9 of 15



                                                                  CLASS 4


                            OTHER CLAIMS ON WHICH THE LAST PAYMENT ON A CLAIM IS DUE
                             AFTER THE DATE ON WHICH THE FINAL PLAN PAYMENT IS DUE,
                                WHICH ARE PROVIDED FOR UNDER 11 U.S.C. §1322(b)(5)
   Check one.

      None. If “None” is checked, the rest of this form for Class 4 need not be completed.

      Debtor will maintain and make the current contractual installment payments (Ongoing Payments) on the secured
     claims listed below pursuant to the terms of the applicable contract, except as stated otherwise in this Plan. These
     payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as specified below. Debtor will
     cure and pay the prepetition arrearages, if any, on a claim listed below through disbursements by the Chapter 13
     Trustee, with interest, if any, at the rate stated. The dollar amount of arrearage stated on a proof of claim controls
     over any contrary amount listed below.

                                                                                      Cure of Default
                          LAST 4 DIGITS OF                                              ESTIMATED                              ONGOING
     NAME OF                                      AMOUNT OF                                                ESTIMATED
                             ACCOUNT                                   INTEREST          MONTHLY                               PAYMENT
     CREDITOR                                     ARREARAGE,                                                 TOTAL
                             NUMBER                                      RATE          PAYMENT ON                             DISBURSING
                                                    IF ANY                                                 PAYMENTS
                                                                                       ARREARAGE                                 AGENT
                                                                                                                             Trustee
                                                                                                                             Debtor


   See attachment for additional claims in Class 4.


                                                                 CLASS 5A

                      NON-PRIORITY UNSECURED CLAIMS NOT SEPARATELY CLASSIFIED
Allowed nonpriority unsecured claims not separately classified must be paid pursuant to Section I.B. above.


                                            SEPARATE CLASSIFICATION:
Check all that apply if Debtor proposes any separate classification of nonpriority unsecured claims.
     None. If "None" is checked, the rest of this form for Class 5 need not be completed.




             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 9                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH              Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                               Desc
                                                Main Document   Page 10 of 15



                                                                 CLASS 5B


    Maintenance of payments. Debtor will maintain and make the contractual installment payments on the unsecured
claims listed below on which the last payment is due after the final Plan payment. The contractual installment payments
will be disbursed by Debtor.

                                                    LAST 4
                                                                                          ESTIMATED
                                                   DIGITS OF         INTEREST                                     ESTIMATED TOTAL
             NAME OF CREDITOR                                                              MONTHLY
                                                   ACCOUNT             RATE                                          PAYMENTS
                                                                                           PAYMENT
                                                   NUMBER

Dept Of Education/neln                           xxxxxxxxxxx85           0.00                         $50.00                       $8,280.00
                                                            67
Dept Of Education/neln                           xxxxxxxxxxx84           0.00                         $25.00                       $1,253.00
                                                            67




                                                                 CLASS 5C

      Other separately classified nonpriority unsecured claims.
                                                    LAST 4
                                                                     AMOUNT TO BE
                                                   DIGITS OF                                 INTEREST          ESTIMATED TOTAL
             NAME OF CREDITOR                                         PAID ON THE
                                                   ACCOUNT                                     RATE          AMOUNT OF PAYMENTS
                                                                         CLAIM
                                                   NUMBER




   See attachment for additional claims in Class 5.


                                                                  CLASS 6


                                                    SURRENDER OF COLLATERAL

   Check one.

      None. If “None” is checked, the rest of this form for Class 6 need not be completed.

       Debtor elects to surrender to each creditor listed below the collateral that secures the creditor’s claim. Debtor
     requests that upon confirmation of the Plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only
     and that the stay under 11 U.S.C. §1301 be terminated in all respects. Any allowed unsecured claim resulting from
     the disposition of the collateral will be treated in Class 5 above.


       Creditor Name:                                                Description:


    See attachment for additional claims in Class 6.



             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 10                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH              Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                               Desc
                                                Main Document   Page 11 of 15


                                                                  CLASS 7


                                EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Any executory contracts or unexpired leases not listed below are deemed rejected.

   Check one.

      None. If “None” is checked, the rest of this form for Class 7 need not be completed.

      The executory contracts and unexpired leases listed below are treated as specified (identify the contract or lease at
     issue and the other party(ies) to the contract or lease):


     Creditor Name:

     Description:
                                Rejected                                      Assumed; cure amount (if any): $
                                                                       to be paid over    months

     Creditor Name:

     Description:
                                Rejected                                      Assumed; cure amount (if any): $
                                                                        to be paid over    months

     Payments to be cured within        months of filing of the bankruptcy petition. All cure payments will be
     made through disbursements by the Chapter 13 Trustee.

    See attachment for additional claims in Class 7.


Section III. PLAN SUMMARY



                 CLASS 1a                                                                                              $4,963.00

                 CLASS 1b                                                                                                   $0.00

                 CLASS 1c                                                                                                   $0.00

                 CLASS 2                                                                                                    $0.00

                 CLASS 3B                                                                                                   $0.00


                 CLASS 3C                                                                                                   $0.00

                 CLASS 3D                                                                                                   $0.00

                 CLASS 4                                                                                                    $0.00

                 CLASS 5A                                                                                             $50,573.00

                 CLASS 5C                                                                                                   $0.00




             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 11                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH              Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                               Desc
                                                Main Document   Page 12 of 15

                 CLASS 7                                                                                                    $0.00

                 SUB-TOTAL                                                                                            $55,536.00
                 CHAPTER 13 TRUSTEE'S FEE
                 (Estimated 11% unless advised otherwise)                                                              $6,112.20

                 TOTAL PAYMENT                                                                                        $61,680.00

Section IV. NON-STANDARD PLAN PROVISIONS

        None. If “None” is checked, the rest of Section IV need not be completed.

     Pursuant to FRBP 3015(c), Debtor must set forth all nonstandard Plan provisions in this Plan in this separate
     Section IV of this Plan and must check off the “Included” box or boxes in Paragraphs 1.1, 1.2, 1.3 and/or 1.4
     of Part 1 of this Plan. Any nonstandard Plan provision that does not comply with these requirements is
     ineffective. A nonstandard Plan provision means any Plan provision not otherwise included in this mandatory
     Chapter 13 Plan form, or any Plan provision deviating from this form.

     The nonstandard Plan provisions seeking modification of liens and security interests address only those
     liens and security interests known to Debtor, and known to be subject to avoidance, and all rights are
     reserved as to any matters not currently known to Debtor.

             A. Debtor’s Intent to File Separate Motion to Value Property Subject to Creditor’s Lien or Avoid Creditor’s Lien
              [11 U.S.C. § 506(a) and (d)]. Debtor will file motion(s) to value real or personal property of the bankruptcy
              estate and/or to avoid a lien pursuant to 11 U.S.C § 506(a) and (d), as specified in Attachment A.
             B. Debtor’s Intent to File Separate Motion to Avoid Creditor’s Judicial Lien or Nonpossessory, Nonpurchase
              Security Interest [11 U.S.C. § 522(f)]. Debtor will file a Motion to avoid a judicial lien or nonpossessory,
              nonpurchase-money security interest, on real or personal property of the bankruptcy estate listed below
              pursuant to 11 U.S.C § 522(f). If the court enters an order avoiding a lien under 11 U.S.C. § 522(f), the Chapter
              13 Trustee will not pay any claim filed based on that lien as a secured claim.

Name of Creditor Lienholder/Servicer:

Description of lien and collateral (e.g., 2nd lien on 123 Main St.):


Name of Creditor Lienholder/Servicer:

Description of lien and collateral (e.g., 2nd lien on 123 Main St.):


Name of Creditor Lienholder/Servicer:

Description of lien and collateral (e.g., 2nd lien on 123 Main St.):



   See attachment for any additional liens and security interests to be avoided by separate 11 U.S.C. § 522(f) motion.

        C. Debtor’s Request in this Plan to Modify Creditor’s Secured Claim and Lien. Debtor proposes to modify the
        following secured claims and liens in this Plan without a separate motion or adversary proceeding - this Plan will
        serve as the motion to value the collateral and/or avoid the liens as proposed below. To use this option, Debtor
        must serve this Plan, LBR Form F 3015-1.02.NOTICE.341.LIEN.CONFRM and all related exhibits as
        instructed in that form. Note: Not all Judges will grant motions to value and/or avoid liens through this
        Plan. Please consult the specific Judge’s Instructions/Procedures on the court’s website for more
        information.



             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                              Page 12                                  F3015-1.01.CHAPTER13.PLAN
             Case 8:23-bk-11700-MH                        Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57                                                  Desc
                                                          Main Document   Page 13 of 15


                           DEBTOR'S REQUEST TO MODIFY CREDITOR'S SECURED CLAIM AND LIEN

       TO CREDITOR LIENHOLDER/SERVICER


                      Real property collateral (street address and/or legal description or document recording number,
                      including county of recording):

                      (attach page with legal description of property or document recording number as appropriate).

                      Other collateral (add description such as judgment date, date and place of lien recording, book and
                      page number):


                      11 U.S.C. § 522(f) – Debtor seeks avoidance of your lien(s) on the above described collateral effective
                      immediately upon issuance of the order confirming this Plan.

                      11 U.S.C. § 506(a) and (d) – Debtor seeks avoidance of your lien(s) on the above described collateral
                      that will be effective upon the earliest to occur of either payment of the underlying debt determined
                      under nonbankruptcy law or one of the following:



                      (1) discharge under 11 U.S.C. § 1328, or

                      (2) Upon completion of all Plan payments.

     Value of collateral: ........................................................................................................................... $
     Liens reducing equity (to which subject lien can attach): $                                              +$              +$              = .. ($            )
     Exemption (only applicable for lien avoidance under 11 U.S.C. § 522(f)):....................................... ($                                          )

     Wherefore, Debtor requests that this court issue an order granting the foregoing property valuation
     and/or lien avoidance of the above-listed creditor on the above-described collateral in the form
     Attachment B, C and/or D to this Plan, as applicable. (Debtor must use and attach a separate Attachment
     B, C and/or D which are also mandatory court forms for modification of each secured claim and lien.)

     Amount of remaining secured claim (negative results should be listed as $-0): ............................. $

     Note: See other parts of this Plan for the proposed treatment of any remaining secured claim (generally Class 3).


   See attachment(s) for additional request(s) to modify secured claims and liens by this Plan.

     D. Other Non-Standard Plan Provisions (use attachment, if necessary):

V. REVESTING OF PROPERTY

             Property of the bankruptcy estate will not revest in Debtor until a discharge is granted or the case is dismissed or
             closed without discharge. Revesting will be subject to all liens and encumbrances in existence when the case was
             filed, except those liens avoided by court order or extinguished by operation of law. In the event the case is
             converted to a case under Chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate will vest in
             accordance with applicable law. After confirmation of this Plan, the Chapter 13 Trustee will not have any further
             authority or fiduciary duty regarding use, sale, or refinance of property of the estate except to respond to any
             motion for proposed use, sale, or refinance as required by the LBRs. Prior to any discharge or dismissal, Debtor
             must seek approval of the court to purchase, sell, or refinance real property.


               This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
April 2019                                                                Page 13                                  F3015-1.01.CHAPTER13.PLAN
Case 8:23-bk-11700-MH   Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57   Desc
                        Main Document   Page 14 of 15
Case 8:23-bk-11700-MH   Doc 2 Filed 08/22/23 Entered 08/22/23 16:04:57   Desc
                        Main Document   Page 15 of 15
